          Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 1 of 7



                                                                            RECEIVED
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE Dimmer OF ALABAMA                          FEB 1 4 2020
                             NORTHERN DIVISION

                                                )                                  CLERK
                                                                           U.S. DISTRICT COURT
MELLIE DUDLEY,                                  )                          MIDDLE DIST. OF ALA.
                                                )
               Plaintiff,                       )
                                                )
v.                                              ) Case No.         GeO            olec
AMERICAN FAMILY CARE/PRIMED
                                                )
                                                )      JURY TRIAL REQUESTED
URGENT/FAMILY CARE,                             )
                                                )
               Defendant.                       )

                                      COMPLAINT

        COMES NOW the Plaintiff, Mellie Dudley, and through her undersigned

counsel of record, and hereby complain and avers against the Defendants, as set forth

hereinbelow.

                            I. JURISDICTION AND VENUE

     i. Plaintiff, Mellie Dudley(hereinafter referred to as "Plaintifr or"Ms, Dudley"files

        this Complaint, institutes these proceedings, and invokes the jurisdiction of this

        Court under and by virtue of 28 U.S. C.§ 1331,42 U.S.C. Section 1983,and as an
        action arising under the act of Congress known as The Age Discrimination in,
        EmploymentAct,29 U. S. C. A. Section 621,et seq., to obtain equitable relief, the
        cost of suit, including reasonable attorneys' fees, and awards of back pay and

       damages suffered by the Plaintiff, Dudley, caused by the Defendant's

        discrimination and retaliation against Plaintiff Dudley, due to her age and her

       complaints of age discrimination and filing of a charge of discrimination with the

       EEOC.
                                                                                Page a of7
       Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 2 of 7




2.   Plaintiff Dudley filed a charge of age discrimination (EEOC charge. No. 846-

     2018-31185) with the EEOC in Birmingham. Plaintiff received her right-to-sue

     on said charge on November 21, 2019.

3. Venue is proper in the Eastern Division of the Middle District of Alabama, since

     the alleged discriminating action of Defendant(s) occurred in Montgomery

     County,Alabama.


                                  II. PARTIES

4. The named Plaintiff, Mellie Dudley, is a citizen of the United States and of
     Montgomery County,Alabama,and is seventy-seven years of age.

5. American Family Care Primed Urgent/Family Care (hereinafter "Defendant" or

     "AFC") an entity located in Montgomery, Alabama as part of a larger chain

     located in Alabama.


                 III. STATEMENT OF FACTS RELATED TO
                       PLAINTIFF WANDA DUDLEY

6. Plaintiff Dudley was employed by Defendant over a period of 26 years, during

     which Ms. Dudley took some years off to pursue other career options. Plaintiff

     Dudley was a loyal employee and dedicated worker for the duration of her

     employment. Ms. Dudley's employment started in 1988 under MedOne, which

     was later purchased by American Family Care/Primed.

7. On September 6, 2018, Plaintiff was forced to resign after being denied a

     requested transfer to AFC located on Vaughn Road Montgomery due to the

     excessive bullying and hostile work environment at AFC located on Atlanta



                                                                         Page 2 of 7
         Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 3 of 7




   Highway Montgomery, under the circumstances constituting a Constructive

   Discharge.

8. After learning of the transfer denial, Ms. Dudley later learned that Director Tim

   Wills, an individual who impacted her transfer stated that"Ms. Dudley should

   go home,and she is too old to be working anyway."

9. A co-worker, namely Whitney, threatened Plaintiff during their shift at AFC. Ms.

   Dudley notified management, but nothing was done by management to the co-

   worker. Instead, Ms. Dudley was subjected to more bullying.           Co-worker

   Whitney stated that she would "knock your [Plaintiff Dudley] head off." After

   Plaintiff reported the incident, co-worker Whitney continued picking on and/or

   harassing Plaintiff Dudley. Other colleagues soon joined in on picking at M .

   Dudley, which was known to management but management did nothing to stop

   it.

10. Another co-worker, John, called Plaintiff"grandma" regularly, and this, too, was

   known by management.

11. Younger employers were treated better than Plaintiff was. This included younger

   employees receiving evaluations with an appropriate time frame, while Plaintiff

   Dudley did not receive her evaluation until April 18, 2018, almost eight months

   after the evaluation.

12. The    Defendant is responsible for enforcing policies, prohibiting illegal

   discrimination in employment, but failed to do so.

13. The Defendanfs agents subjected Plaintiff Dudley to unlawful discrimination in

   violation of 29 U.S.C. § 621, et seq.


                                                                          Page 3 of7
          Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 4 of 7




                        IV. PLAINTIFF'S CAUSE OF ACTION


       VIOLATION OF AGE DISCRIMINATION IN EMPLOYMENT ACT
              29 U.S. C.§ 621,et seq., AND 42 U.S.C.§ 1983

   14. Plaintiff Dudley repeats, re-alleges and incorporates by reference paragraphs 1-13

       above, the same as if more fully set forth herein, and further avers that the

       Defendant discriminated against her due to her age.

   15. Plaintiff Dudley avers that the aforesaid actions of the Defendants violated 29 U.

       S. C. Section 621, prohibiting age discrimination in employment.

   i6. Plaintiff Dudley avers that she has suffered economic damage as a proximate

       cause of said age discrimination, in that she has lost her position within AFC and

       other economic benefits.         Plaintiff Dudley further avers that the age

       discrimination practiced against her was willful, thus entitling her to liquidated

       damages.


                                PRAYER FOR RELIEF


       WHEREFORE, premises considered, Plaintiff Dudley prays that this Honorable

Court will, upon a final hearing of this cause, enter an order:

   a. Reinstating Plaintiff to her job position with all the same benefits and privileges

      as if she had,never been terminated and enjoining the Defendants from failing to

      reinstate Plaintiff, due to discrimination against Plaintiff Dudley due to her age;

   b. Awarding.Plaintiff Dudley such monetary damages to which she may be entitled;

   c. Awarding Plaintiff Dudley her costs in this action, including a reasonable

      attorney's fees; and



                                                                                 Page 4 of 7
       Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 5 of 7




 d. Granting Plaintiff Dudley such other further and different relief to which she may

    be entitled.

V. AFFIRMATIVE DEFENSES AGAINST AN ASSERTION OF ILLEGAL AND
             ONEROUS ARBITRATION AGREEMENT


 17. Plaintiff avers that for many years, starting with Defendant's predecessor, Med

    One in 1988, and continuing up until her constructive discharge on September

    20, 2018, Plaintiff worked   continuously for the defendant without any onerous

    condition such as an arbitration agreement.

 18. Without any additional consideration, on or about May 24, 2018, the Defendant

    attempted to impose an arbitration agreement (see attached as exhibit A),

    requiring that Plaintiff, as a condition of her continued employment with AFC

    agree to submit herself to binding arbitration administered by the American

    Arbitration Association, which would require that "the employee shall share

    equally all of the administrative costs associated with the filing and prosecution

    of the Arbitration."

 19. Without access to an attorney, and without any additional consideration other

    than her continued employment(lacking in any value since Plaintiff has long held

    her job), Plaintiff was coerced into signing.

 2o.Plaintiff can barely afford the expense of an attorney to represent her in this

    litigation as Plaintiff was barely able to come up with was a $400 filing fee on a

    largely contingent representation.      Thus Plaintiff cannot afford either the

    expenses, or the risk of expense of entering into any arbitration, which would

    potentially make her present situation go from bad to worse. Such a provision is


                                                                            Page 5 of 7
      Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 6 of 7




   therefore unconscionable and against the Plaintiffs constitutional right to seek

   redress for her grievances.

21. Plaintiff   also avers that the arbitration agreement, as can be seen from the

   attached, is dated in the lower right-hand corner with a date almost 13 years

   earlier than her May 24, 2018 signature date. Plaintiff maintains that the

   discrepancy is improper and misleading and part of a fraudulent attempt to

   prevent Plaintiff from raising her age discrimination claim.

22.Plaintiff    also challenges the arbitration agreement because it requires an

   administration by the American Arbitration Association, which association has a

   notorious history of siding with corporate defendants, because said corporate

   defendants are potential repeat clients for arbitrators, who make good hourly fees

   and because corporate clients quickly learn that any arbitrator who has ever ruled

   for a Plaintiff in an employment discrimination case is an arbitrator never to be

   chosen again. This then creates an overwhelmingly pro-defense climate and

   attitude for such arbitrators, who are thus far more likely to rule for corporate

   defendants.

23.Plaintiff maintains that the arbitration agreement proferred by the Defendant,

   especially under the circumstances alleged above, is unconscionable, outrageous,

   and against public policy and defies the intent of the U.S. Congress and is

   thwarting and frustrating the age discrimination laws passed bÿ the U.S.

   Congress years ago.

                               VI. JURY DEMAND

   A jury trial is requested on all issues so triable.                      (


                                                                           Page 6 of7
  Case 2:20-cv-00105-JTA Document 1 Filed 02/14/20 Page 7 of 7




Respectfully submitted,

                             Mel]:    dley, Plaintiff


                             Jul     McPhillips
                             Lead Attorney for Plaintiff
                             McPhillips Shinbaurn, LLP
                             516 South Perry Street
                             Montgomery, AL 36104
                             Office: 334-262-1911
                             Julian.mcphillips@msg-lawfirm.com



                            Tarn a inney
                            Co-Counsel for Plaintiff
                            Law Office of Tanika L. Finney
                            516 South Perry Street, Suite 3-A
                            Montgomery, AL 36104
                            Office: 334-603-1353
                            tanikaPtlfinneylaw.com




                                                                 Page 7 of7
